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                    UNITED STATES DISTRICT CffQRT                   ~8fe:,17:'?9tli Jr., Cle
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             FOR THE EASTERN DISTRICT OF NORTH CAROLINA                          /r/cio,lfc
                         SOUTHERN DIVISION

                              NO.   7 ~ 10-L~-10,;-1 Ml~)
 UNITED STATES OF AMERICA                 )
                                          )       INDICTMENT
              v.                          )
                                          )       (UNDER SEAL)
 QUADARRIUS COTTEN                        )
   a/k/a "Reckless"                       )

The Grand Jury charges that:

                                 . COUNTONE

      On or about January 14, 2020, in the E~stern District of_North Carolina, the

defendant, QUADARRIUS COTTEN, also known as "Reckless," did knowingly and

intentionally distribute a quantity of heroin, a Schedule I controlled substance, in

violation of Title 21, United States Code, Section 841(a)(l).


                                     COUNTTWO

      On or about January 22, 2020, in the Eastern District of North Carolina, the

defendant, QUADARRIUS COTTEN, also known as "Reckless," did knowingly and

intentionally distribute a quantity of ~eroin, a Schedule I controlled substance, in

violation of Title 21, United States Code, Section 84l(a)(l).

                                 COUNT THREE

      On or about January 28, 2020, in the Eastern District of North Carolina, the

defendant, QUADARRIUS COTTEN, also known as "Reckless," did knowingly and


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intentionally distribute a quantity of cocaine, a Schedule II controlled substance, and

a quantity of Fentanyl, a Schedule I controlled substance, in violation of Title 21,

United States Code, Section 841(a)(l).

                                    COUNT FOUR

      On or about January 28, 2020, in th.e Eastern District of North Carolina, the

defendant, QUADARRIUS COTTEN, also known as "Reckless," knowingly possessed

a firearm during and in relation to a trafficking crime for which he may be prosecuted

in a court of the United States, as alleged in Count Three of this Indictment, and did

possess said firearm in furtherance of said drug trafficking crime, in violation of Title

18, United States Code, Section 924(c)(l)(A).


                                    COUNT FIVE

      On or about January 28, 2020, in the Eastern District of North Carolina, the

defendant, QUADARRIUS COTTEN, also known as "Reckless," knowing he had

previously been convicted of a crime punishable by imprisonment for a term

exceeding one (1) year, knowingly possessed a firearm, and the firearm was in and

affecting commerce in violation of Title 18, United States Code, Sections 922(g)(l)

and 924.


                                     COUNT SIX

      On or about May 16, 2020, in the Eastern District of North Carolina, the

defendant, QUADARRIUS COTTEN, also known as "Reckless," did knowingly and




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intentionally possess with the intent to distribute a quantity of heroin, a Schedule I

controlled substance, in violation of Title 21, United States Code, Section 841(a)(l).




           [Remainder of the page intentionally left blank.]




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                                   FORFEITURE NOTICE

       Notice is hereby given that all right, title and interest in the property described

herein is subject to forfeiture.

       Upon conviction of any felony violation of the Controlled Substances Act

charged herein, the defendant shall forfeit to the United States, pursuant to 21 U.S.C.

§ 853(a), any property constituting, or derived from, any proceeds obtained, directly

or indirectly, as a result of the said offense, and any property used, or intended to be

used, in any manner or part, to commit, or to facilitate the commission of the said

offense.

       Upon conviction of any violation of the Gun Control Act, the National Firearms

Act, or any other offense charged herein that involved or was perpetrated in whole or
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in part by the use of firearms or ammunition, the defendant shall forfeit to the United

States, pursuant to 18 U.S.C. § 924(d) and/or 26 U.S.C. § 5872, as made applicable by

28 U.S.C. § 2461(c), any and all firearms and ammunition that were involved in or

used in a knowing or willful commission of the offense, or, pursuant to 18 U.S.C.

§ 3665, that were found in the possession or under the immediate control of the

defendant at the time of arrest.

      The forfeitable property includes, but is not limited to, the following:

      Forfeiture Money Judgment:

      a) A sum of money representing the gross proceeds of the offense(s) charged

           herein against QUADARRIUS COTTEN, also known as "Reckless," in the

           amount of at least $1,500.


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'   .


              If any of the above-described forfeitable property, as a result of any act or

        omission of a defendant: cannot be located upon the exercise of due diligence; has

        been transferred or sold to, or deposited with, a third party; has been placed ~eyond

        the jurisdiction of the court; has been substantially diminished in value; or has been

        commingled with other property which cannot be divided without difficulty; it is the

        intent of the United Stat~s. pursuant to Title 21, United States Code, Section 853(p),

        to seek forfeiture of any other property of said defendant up to the value of the

        forfeitable property described above.



                                                        A TRUE BILL:

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        ROBERT J. HIGDON, Jr.
        United States Attorney


    BY: TIMOTHY M. SEVERO
    Assistant United States Attorney




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